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                 EXHIBIT 7
Photos inside Rikers Island expose hellish, deadly conditions             https://nypost.com/2021/10/21/photos-inside-rikers-island-expose-helli...
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            By Gabrielle Fonrouge                                                           October 21, 2021     3:10pm      Updated




                                                                Dozens of men crammed together for days in temporary
                                                                holding cells amid a pandemic. Filthy floors sullied with
                                                                rotten food, maggots, urine, feces and blood. Plastic
                                                                sheets for blankets, cardboard boxes for beds and bags
                 Inmate commits suicide at                      that substituted for toilets.
                 Rikers Island, 17th death in
                 NYC’s jail system this year
                                                                This is what the epicenter of the crisis on Rikers Island —
                 DOC allegedly cooked books to                  which has a whopping $1.2 billion budget for fiscal year
                 hide detainee violations at                    2022 — looked like for months.
                 Rikers Island
                                                                The Post obtained exclusive photos showing the intake
                 Ex-NBA player punched kid in                   cells at the Otis Bantum Correctional Center on Rikers
                 face ‘multiple times’ after he
                 dropped book: court docs                       Island between July and late September where hundreds
                                                                of inmates languished for days or weeks on end in
                 Ex-NYPD honcho, judge                          violation of city regulations, which require they be assigned
                  h ll    M li d K t f                            h     i           ithi 24 h

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                 challenges Melinda Katz for                    a housing area within 24 hours.
                 Queens DA
                                                                The images show as many as 26 men stuffed body to
                                                        body in single cells where they were forced to relieve
            themselves inside plastic bags and take turns sleeping on the fetid floors.




            As many as 26 men were stuffed in single cells on Rikers Island.




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            During a five-day period in mid-September, at least 105 inmates were inside the crowded cells long after they should
            have been moved, records show.

            In one image, an inmate is seen curled up on the floor — outside of the holding cell — because there
            was nowhere else to put him and when the facility was ready to burst, or when elected officials came to
            visit, detainees were stashed in a gym, Department of Correction sources said.




            “It was inhumane … They’re not supposed to be there that long, the intake is just a place to process the
            inmates,” a jailhouse source told The Post of the conditions at OBCC, which housed most new
            admissions to the jail before intake was moved to another, larger facility in late September with double
            the clinic space.

            “And the sad thing about it is … you couldn’t do anything about it, it was all management,” the source
            said. “They knew what was going on and they did nothing.”

            Internal records obtained by The Post offer a glimpse of the
            problem’s scope and indicate at least 256 inmates festered inside
            the OBCC intake beyond the 24-hour limit between June and late
            September because of “medical delay” and “shortage of DOC staff.”


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            One of those detainees — 42-year-old Isaabdul Karim — died three
            weeks after he spent 10 days “mired in intake,” where he contracted
            COVID-19, his lawyers have said. His cause of death is still being
            determined by the city’s medical examiner.

            During a five-day period in mid-September, shortly before most
            intake processes were moved to the Eric M. Taylor Center, at least
            105 inmates were inside the crowded cells long after they should
            have been moved, records show.

            In just that time period, one detainee was inside the OBCC intake for six and a half days, 22 stayed
            between five and six days and 80 were there between two and about five days, according to the
            records, which are only a snapshot of the issue and do not show the full scope of the problem.




            Inmates were forced to relieve themselves inside plastic bags and take turns sleeping on the fetid floors.




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            One thing “no picture can capture” is “the stench,” which is “the smell of death,” state Sen. Jessica Ramos said.

            “Regardless of whether you are tough on crime or you’re a criminal justice reformer, everyone
            recognizes that when someone comes into our custody, we have a responsibility to provide them with a
            safe and secure environment and we have been failing them in that regard,” Councilman Keith Powers,
            who chairs the Criminal Justice Committee and visited OBCC’s intake twice, told The Post, calling the
            conditions “horrifying.”

            “They were understaffed, overworked, overcrowded and everyone was trying to do their best but it was
            often not enough to remediate the situation at hand so for me, looking in, you just had a human rights
            crisis right before your eyes and it’s a crushing and overwhelming moment when you see that with your
            own two eyes,” he said.

            Following a number of visits to OBCC and Rikers Island, elected officials, community advocates and
            union leaders sounded the alarm about the devastating, unprecedented conditions — but the public has
            never been able to see what it actually looked like until now.

                                                       “I’ve been saying this all along, if we could physically show people
                                                       what we are seeing, you would have to care,” said Alice Fontier,
                                                       managing director of the Neighborhood Defender Service of Harlem.

                                                       “People were not held for 26 hours or 27 hours, they were held for
                                                       eight, nine, 10 days … and holding people in that sort of filth, it’s a
                                                       violation of human rights.”

                                                       Inside the hellish chambers, inmates had scarce access to food,
                                                       which “routinely ran out” and was sometimes distributed by
                                                       detainees, according to Fontier and jailhouse sources.



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                                                       There was little, if any, access to fresh air, toilets, toilet paper,
            showers or medical care, and inmates were routinely denied visits with their attorneys and trips to the
            courthouse for hearings on their pending cases, according to jailhouse sources, attorneys and elected
            officials who visited the facility and spoke with detainees.

            Some of the only water inmates were able to drink came from tiny sinks inside the pens and without
            cups, detainees used their unwashed hands to scoop up sips, or put their mouths under the faucets.




            Since shifting operations from OBCC and reopening EMTC, there have been no 24-hour violations and the new
            admission process is taking between 12 and 18 hours.




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            At least 105 inmates were inside the crowded cells long after they should have been moved, records show.

            In response, a spokesperson for the DOC said the “conditions in these photos do not exist at Rikers
            Island today.”

            “We’ve closed OBCC’s intake and reopened the Eric M. Taylor Center for intake purposes, ended
            overcrowding and long waits in intake, and thoroughly cleaned this and many other facilities,” the
            spokesperson said.

            The agency noted that since shifting operations from OBCC and reopening EMTC, there have been no
            24-hour violations and the new admission process is taking between 12 and 18 hours.

            The DOC said it had not been told of detainees being deprived of meals, even though elected officials
            previously said access to food was an issue and a federal monitor noted it in court records. The agency
            said it would investigate the claims and added that water should be available to detainees in holding
            when requested.

            While the photos of OBCC’s intake are visual depictions of the
            Rikers Island crisis, state Sen. Jessica Ramos, who visited the
            facility in September, said the one thing that “no picture can capture”
            is “the stench” — a smell so bad, Fontier said, she could “feel it” in
            her eyes.

            “It’s the smell of death,” said Ramos, who witnessed an inmate
            attempting to hang himself when she toured the facility. “It was a
            house of horrors.”

            For Powers, it was the din of a hundred-plus men’s pleas for help
            falling on deaf ears that stuck with him.

            “You just immediately walk in and see far too many people, lots of people yelling out for various needs,
            the noise was one of the most shocking things because everyone is kind of like pleading for basic
            resources and basic treatment,” Powers recalled.

            On Sept. 13, more than a dozen community advocates and state and local elected officials conducted a
            highly publicized visit to Rikers Island and held a press conference afterward to describe what they saw.
            The revelations they shared were mostly new to the public, but the DOC, a federal monitor tasked with
            overseeing the jail and the court were already well aware of what was going on and allowed it to
            continue.


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            Almost a month earlier, federal monitor Steve Martin sent a letter to the court describing current
            conditions on Rikers Island and noted there were issues within the intake units, court records show.




            “People were not held for 26 hours or 27 hours, they were held for eight, nine, 10 days … and holding people in that
            sort of filth, it’s a violation of human rights,” said Alice Fontier, managing director of the Neighborhood Defender
            Service of Harlem.

            “Recently, a disturbing pattern has been noted within the Intake units in which individuals have
            languished in Intake well beyond 24 hours. The delay in transferring detainees out of Intake has also
            resulted in significant delays in providing required medical services,” Martin wrote.

            “Further, the Monitoring Team received reports that food and other basic services are not being
            routinely provided to detainees in Intake and that other services within the Facilities have also been
            compromised.”

            The federal monitor and his team repeatedly told the court more staff and space were necessary so
            new admissions could be processed safely and in a timely fashion, but the conditions persisted for
            another month before EMTC took over as the primary intake facility.

            It was in that time period when Karim died.




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            One detainee was inside the OBCC intake for six and a half days.




            “It was inhumane,” a jailhouse source told The Post of the conditions at OBCC.



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            The father of two, who was being held on a technical parole violation and had a host of medical issues,
            died on Sept. 19 following his 10-day stint in the intake unit, where he was denied access to
            “medications and critical medical care,” his lawyers said previously.

            He is one of 14 detainees to die in DOC custody so far this year, the same number of deaths seen in
            the last two years combined.

            “The New York City Department of Correction’s deep-seated ineptitude in protecting our clients has
            undoubtedly contributed to the record number of people to pass in City custody this year,” a
            spokesperson for the Legal Aid Society, which repped Karim and a number of other detainees to die in
            DOC custody, told The Post.

            “The ongoing collapse in basic jail functions — including the delays at intake — is as alarming as ever.
            We again demand immediate decarceration before a 15th New Yorker in City custody loses their life.”


                                 ABUSE, DEPARTMENT OF CORRECTIONS, HUMAN RIGHTS, INMATES,
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                                  Armed crook kicks senior to the ground, robs him in the Br...




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